          Case 1:19-cv-01552-ABJ Document 31 Filed 05/24/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON,

               Plaintiff,
                                                 Case No. 1:19-cv-1552 (ABJ)
   v.

U.S. DEPARTMENT OF JUSTICE,

               Defendant.


                                   NOTICE OF APPEAL

        Defendant the United States Department of Justice hereby appeals to the United States

Court of Appeals for the District of Columbia Circuit from this Court’s May 3, 2021 Memorandum

Opinion [ECF Nos. 23, 27] and Order [ECF No. 26].



Dated: May 24, 2021                           Respectfully submitted,

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                                              Deputy Assistant Attorney General

                                              ELIZABETH J. SHAPIRO
                                              Deputy Director
                                              Civil Division, Federal Programs Branch

                                              /s/ Julie Straus Harris
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